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16
                         IN THE UNITED STATES DISTRICT COURT
17
                                  FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                             No. CR-18-422-PHX-DJH
20                            Plaintiff,
                                                      UNITED STATES’ MOTION FOR
21             v.                                    LEAVE TO FILE EXCESS PAGES IN
                                                      SUPPORT OF ITS RESPONSE IN
22                                                    OPPOSITION TO DEFENDANTS’
     Michael Lacey, et al.,                            MOTION TO DISMISS WITH
23                                                            PREJUDICE
                              Defendants.                      (Doc. 1355)
24
25
26          The United States of America, by and through undersigned counsel, hereby requests
27   permission to file excess pages (not to exceed 33 pages) in support of its Response to
28   Defendants’ Motion to Dismiss with Prejudice.

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 1          Although Local Rule of Civil Procedure 7.2(e), as incorporated by Local Rule of
 2   Criminal Procedure 47.1, provides that motions and responses ordinarily should not exceed
 3   17 pages in length, the United States respectfully requests permission to file excess pages
 4   here. Defendants’ motion is 29 pages in length, raises numerous issues, and contains 18
 5   exhibits totaling over 1000 pages. Moreover, many of the issues raised require additional
 6   pages to provide pertinent factual background. The United States respectfully requests
 7   permission to exceed the page limit so that it can thoroughly and completely respond to
 8   Defendants’ motion.
 9
10         Respectfully submitted this 17th day of November, 2021.
11                                             GLENN B. McCORMICK
                                               Acting United States Attorney
12                                             District of Arizona
13                                             s/ Peter S. Kozinets
                                               KEVIN M. RAPP
14                                             MARGARET PERLMETER
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                                 CERTIFICATE OF SERVICE
 1
 2          I hereby certify that on November 17, 2021, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6
     s/ Marjorie Dieckman
 7   U.S. Attorney’s Office
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